Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 1 of 150

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 2 of 150

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 4 of 150

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 5 of 150

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 7 of 150

 

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 8 of 150

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 9 of 150

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 10 of 150

 

 

   

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Case 1: - -
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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 13 of 150

 
  
 
  
   

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 14 of 150

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 15 of 150

 
  

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New Line Exchange
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DATE: 07/04/2009

CASH TRANSAC§`ION SLIP

TRP REF #: 653/2009

'IRANSFERER NAME: JUMP U.S.A.

 

AMOUNT RECEIVED: 475500 USD CASH

SDURCE OF MONEY: PURCHASB SHOU_ES (BUISSNES).

'IRF SIGNATURE

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h`GR'l'H DISTEI(.'I`\ TAICHUNG Ci'l"[ 404,
TAlWAN, R.O.C.

TEL: +386 4 2238 8693
FAX! +886 4 2238 997()

I’"‘K DRTAIL¢ HEGA INI`ER\\LATIONAL CMBRCM, B.&NX CO. ,L'I_`D,
`_,' HONG KONG BRANC`H

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 18 of 150

 

 

 

 

 

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Case 1'17-cv-02780-T.]K Document 22-8 Fl|ed 02/28/19 Page 20 of 15

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lump USA Inc¢

JP Morgan Chase Bank, N.A.
Montc|air, New lemay 07042
Routing #: 021202337
Account #: 510500302865
SWIFT CODE: CHASUS33

FNK 7782 1071
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MM., Lebanese szadiau Bank S,!\‘.L.
ST ~ CHARLES BRANCH.

BEIRU'I` # LEBANON . '
` ' DATE: 2800/2009

~ REF.'NO.: 112/2009

 

ORDER FOR TRANSFER
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Swift code : BUFBUSBM~
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CORALG ABLES , FL 33134 1
BBNEFICIARY ;`_ s.A RUTAS mTERNACIONALES S_ARI USA
ACC_OUNT NO # ; 0679002693
AMOUNT . : 37000 S ( THERTY sEvEN THQUSAND 0 , S
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BEST REGARDS

;,.`q_\ M/S) \_, ` stAlL YOUSSEF

New Line Exéiiange l
_ TrustCo.S.A.L.

 

- 744810
Ras Beirut. Caraces Street UD 1GOm to tam\:) house Tei: +961 1 7¢:4808/009. FBX~ +961 1

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MM. I,cban_esc Canadian Bank S.A.L.

ST ~ CHARLES BRANCH.

BBLRUT ~ LEBANON . ’
DATE: 23,>’10/20(39

REF, N()..; HUZUU‘)

ORDER F<)R TRANSFER

B/\NK NAME : MBGA IN'I`BRNATION'AL COMWRCIAI.. BANK
CO, LTD. HONG KONG

Swi& code 7 : lCBCHKHH ~

AddreSS 2 SULTB ZQOI,ZZ/F,PRUDENTIAL T@\VER . THE

GATEWAY , HARBOUR ClTY , 21 CANTON ROAD TSII_\/ISHA'I`S[H,

KOWLOON , HUNG KONG .

BENEFICIARY : sLHNY GROUP;NT"L, L.L.C
AcCOUNT NO # -. 965-11»003203

AMOUNT : 120000$ ( oNE HUNDRBD 'erNTY THousAN-D

DOLLARS )
REASON ~ z P.SHOES

CHARGE WILL B`B DEDUCTED FROM _'1`HE AMOUNT

BBST REGARDS

¢;d[(j] L ISMAIL Youssb'p
° .

New Line Exchange
Tmst Co. s.A.L.

aes Beimt. cargoes eiree\ Up mem to lamb house Tel; +9@1 1 744308/809. Fa><: +961 1 744310

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 26 of 150

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Trust Co. S.A.L.

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SH[NY GROUP INT'L L.!_.C

X| NAH RDAD, CHI\NG KENG V!LLJ\GE, UAOBU TCWN , DGNG GUAN ‘ GUAN DONG , CH|NA
TEL:(B}769-83522502 , FAX:(U)'!'€Q-B$?BGOO§

PROFORMA §NVOICE

 

PO NO.: FE'Y~QOZOQ

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PAYMENT TERE.! : TfT AD\/AHCE 'YHE SH{PMEHT, with 30"/= DOWN PAYMENT BY THE ORDER
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FTY-oozoe mm Hypeq era-m 100 340 5.600.00
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FT\/mzug owe casts~z segal mo aaa 2.520.00
FTY-O<)Qoe casts 0:»5§$»1 coffee 100 340 5.850.00
FTY'oozos cwa cass-1 ada ?.00 350 2.520.00
Frv-oozos ours cass-1 saw mo 349 5.880.00
FW-00209 Oas~'s oa§s-a wis mo 369 2\520.00
FTY-oozoa oas‘»s oass~r amax 7.00 340 5.880.00
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FFY»OOZOQ Oas.ls Oasls-S Sb-er 100 420 2`940.00
F`TY.Oozoo oas's oa§s-a Ro;»al 7.00 420 2\940`00
FTY-OOZOB Oasis Oasls':\ CoHee 7.00 840 5.889.00
FTY'OOZD$ Oas'.s Oasls'?> Go!d 7.00 420 2.94 O-OO
FTY-OQDB OasIs Oa§~s-S B!a¢\< 7.00 340 5,880.00
Fw»oozoo oas's oa§s»s mae mo 420 2.940.00
FW-oozoe casts osm-3 mask 7_00 340 5.880.00
FrY-oozog casts mak-3 \\'h'¢¢ 7.00 mo 5.880.00
FTY-00209 Free FrecJ, B‘.ad< 7.00 500 4.200400
FT¥-GDZOQ F:eo Frec»¢l Wh§w&!ack 7.00 450 3.360,00
FT\’-DOZUQ Fleo F!ee--‘¢ Bmm 7.00 500 4,200.€0
FTY-OOZOQ Frec Free~.') Black 8.00 720 5.760.00
FTY-00209 me Fw¢.»s whaesrecx 8.00 430 3.840.00
FW-DOZOB Frea F¢ee-§ Brown 8.00 720 5,760.00
FW~ooon Mzdm‘gm md nigth slack 7.00 430 3,360.00
F'rY-oome Mwnsgm wareng aman 7.00 430 3,360.00
FTY-00209 usdr\ighz a.mnsgm»z wri\e 7.00 240 1.680.00
FTY-Oozoe hci<snh_\hl Mvrc\gm¢s ssz 8.00 430 3.640.00
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FTY-00209 r.§xm!ghl r,<sdnzgm-s wmc 8.00 240 1,920.00
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FT¥.00209 comm emma-so ama 8.00 540 6.?20-00
F¥Y-OD?.GQ cocktalt ccck\a.\\‘m wmc s.oo 430 3.840.00

TOTAL : 22,660 166‘560.00

 

 

 

 

 

 

 

 

 

SA`Y TOTAL US DOLLARS USD'.‘ISS<S$O'DO

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CIO NO.B?, £NDUSTRU\L ZGTH,ROAD,TNFING CFTY,
TAlCl-IUNG HS!ER 4 l i54 TNWAN.R,O.C.
ADV\S\NG_ 'BANK: MEGA iNTERNM'IONAL COMP.\ERCIAL BANK CO., LTO
HQNG KONG BRANCH
Su'r(e ZZDj.HZIF.Rm¢enUaf Tower
Tha Gale.v_ay,Harbour City,zi Canlon Roacl
Tslmshatsu¥.Ko'Moon!¥lo¢\g Kong
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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 29 of 150

BANK lNFORNlATlON

BENEF|CIARY:SH¥NY GROUP ENT"L
L,L.C

BANK: MEGA lNTERNATiONAL
CON|M_ERCEAL BANK CO LTD

 

Suite 2201,22/F,Prudential Tower, The
Gateway, Harbour City,

21 Canton Road Tsimshatsui,
Kowloon, Hong Kong

SW|FT:¥CBCHKHH
ACCOUNT NO :965-11-003208

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 30 of 150

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 31 of 150

   

    

 

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MM. Lebancse Canadian Bank S./'\.L.
S'§` - CHARLES BRANC1~L
BBIRUT ~ LEBANON

REF., NO.:H}WZUGS

ORDER I<`OR TRANSFER

_"' BANK NAME : CHINATRUST COMMERCIAL BANK NAN 'I`UN

BRANCH
Swift code : CTCBTWTP
AddreSS : ZF , NO.Z$G, SEC. 2 , WU~CHUAN W. RD.,

TAICHUNG , TAIWAN
BENBFICIARY : LA TANDEM WI`ERNATIONAL INC.

ACCOUNT NO # : 04514-1116766

AMOUNT ; 300,000 usn (THREF, HUNI)RED
THOUSANI) DOLLARS)
`\“` RBASON z PAYMENT 011 INVOICE . SHOES

CHARGE WILL BE DEDUCTBD FROM THE AM()UNT

BEST REGARDS

ISMAIL YOUSEF
w ' New Line Exchange "
‘>‘U K§§ 19 Trust Co. S.A.l.. '

1333 Belrut, Caracas Sireet Up 100m to iamb house Tel: +961 1 744808/809, Pa>,<: +961 1 711/1810
e-mai|: new|ine.exchanoe@hmman mm

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 33 of 150

 

 

 

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New L`\ne Exchange
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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 34 of 150

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REF. N().: 73!2009

 

ORDER FGR TRANSFER
Bank name ; JP MORGAN CHASE BANK N,A
ADRESS ;MONTCLAIR, NEW JERSY 0?042
"“' ABA ' :021202337
Swm cade ; CHASU333
Bene§ciary : JUMP USA TNC...:
A<:count # : 510 500 302 865 y

Amolmt t `198000 ( one h:undred 'ninty eight thousand
U.S, dollars only ) ` "_ `
Reason : Payment of invoicé C_IOA?~IMO£>SSOUZ purchase shoes.
l` l;
\/ YOUR COMMISSIONS AND CHARGES A-RE 'I`O BE DEDUC'I`ED FROM THE

TRANSFBR AMMOUNT.
BEST REGARDS

zIAD YOUSSEF Ne“’ L?"e EXCHSHQB
Trust Co. S-§"A.L,

 

Ras Beirut‘ Caracas S!reetUp1ODmto’!amb hog'JSe Te\: +961 1 744808/809. Fa>c; +961 1 744810
' e~maii: newilne.exchange@hotmai!.com

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 35 of 150

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 36 of 150

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BElRUT: 03/0¢§/2009

Lebanese Canadiau Bank
Beimt ~ Le¥jaixozz

REF. NO.: 70!2009

 

URDER FOR TRANSFER
Ba.nk name : JP MORGAN CHASE BANK N.A
ADRESS . : MONTCLAIR, NEW JERSY 07042
/ ABA : 021 202 337
Swii%‘code : CHASUS?>3
Beneficiary : FUMP USA INC.
Account # z 510 500 302 865
Amount :65,800( sixty~five thousand eith hundred

U.S. dollars only )

Reason : Payment of invoice C047»IM0938002 purchase shoes.

_, ’ YOUR COMMISSIONS AND CHARGES ARE TO BE DBDUC'I`ED FROM THE
TRANSFER AMMOUNT.

55 BEST REGARDS

ZIAD YOUSSBF

 

dew Line Exchange
Trust Co. S.A.L.

Ras Be‘lrul, Caraces Street U`p 100m to lamb house Tel: +961 1 744808/809, Fax: +961 1 744810
' e»mail: new§ine.exchange@hotmai{.com

691 FNK 7782 1087

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 37 of 150

 

 

 

 

 

 

 

 

 

 

 

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JUMP CORP. md ll
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FNK 7782 1088

 

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DATB: 08/04/2009

CASH TRANSACTION SLIP

'I`RF RBF #: 130/2009

TRANSFERBR NAME: FUMP U,S.A.
AMOUNT RECEIVED; 65300 USD CASH

SOURCE GF MONEY: PURCHASE SHOUBS (BUISSNES)o

'['RF SIGNATURE

 

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FNK 7782 1089

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 40 of 150

     

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BEIRU’Z`: 08/0_4/2009
Leb:mese szudian Bank

Bcim¥; ~‘ Leban(m

REF. NG.: 691/2009

 

ORDER F()R TRANSFER
Bank name : JP MORGAN CHASE BANK N,A
ADRESS ;MONTCLAIR, NEW JERSY 07042
\\/
ABA ' 1021 202 337
Swif: éode ; cHAsUs33
Benefxciary z JUMP USA INC.
Account # : 510 500 302 865
Amounf :.458,700 ( four hundred fifty~eiqht; thousand
seven hundred U . 5 . dollars]
Reason : Payment of invoice COd?-JMO9SSOO6 purchase shoes.
`\.¢/
` YOUR COMMISSIONS AND CHARGES ARE TO BE DEDUCTED FROM THE
TRANSFER AMMOUNT.
BEST REGARDS

ZIAD YOUSSEF

 

New L'me Exchange
Trust CO. S.A.L.

Ras Belrut, Garacas Streetu'p 100m to lamb house Te!: +961 1 744808/809. Fa)<: +961 1 744810
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6F~2,-ND.631, SEC.I, CHUNG-'IE RD., NOR'I'H DISTRIC‘I`, TA!CHUNG CITY 404. TAIWAN, R.O.C.
` ’I`BL;+SSO' 4 2238 8693 FAX:+ESG 4 2233 9970 , l .

 

 

 

 

PROFURMA ZNVOICE '
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S.' TOTAL 5 U.S. DOLLARS POUR H'U'NDRRD FIPTY, BIGHT ’EHOUSAND SRVHN HUNDRBD SIXTY ONLY.

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DATE: 03/04/2009

CASH TRANSACTION SLIP

TRF REF ¥i: 69/2009

TRANSFERER NA.ME: .IUI\&P U,S,A.
AMOUNT RECEIVED: 4587{}0 USD CASH

SOURCE OF MONEY: PURCHASE SHOUBS (BUISSNES).

TR]? SIGNATURE

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METAS c.A ~ NAB§L lssA

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‘ AC`TA DE ASAMBI,_§§ GENE;;AL EXTRA<)RI)INARIA DE
ACCIONISTAS DE LA SOCIEDAD MERCANTR “METAS, C A.”. En
m el elia de hoy, dace (.12) de jumo del ai“io des mil nueve {2009), siendo las

clue-ve de 1a mariana { 91 00 a .m ), se ensuentr=m remidos en la sade social lde

 

:;' l ‘ la compm`iia los accionistas de “METAS, C.,A.”, afm de celebrar la Asamblea

 

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DRZ\.SANDRA 1523th ROMERO¢ REGISTRADOR ¥~MRCAN'I‘IL SEGUN'D¢ DE LA CIRCUNSCRIPCION

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ACC{G§§§TAS DE LA\ S{)CH§DAD MERCANT “M§§LASz C.A.”. En
el diaz de hoy, dues (12) de }m:io del 3110 605 1311 wave (2009), siendc) las

    

H::me\'e de la maiiana {`,9:00 a,rn.}, se mcnamar famildos en 121 ends SGcial dc.
~ 1a compaiiia los amiouisras de “MIE‘EAS, C.A.”, a fin de celebrm' 1a Asambiea
G:meral Extraordixmriva de Acoionis€as y seguidameme se deja consmncia dc
los asistentw: 1} Sr., TOLEL SAID DAV'DJ, en 311 caréct_er de Presirlente dc
1a sociedad y en su condicién de titular de Ciemo chuenta Mil (150.000}
Acciones y Z} Sr. NABIL DAVID ISSA, en su carinter de Vice~Pre'sideme de
1a sociedad y en su condioién de titular de Cicnto Cincuenta Mil {150;001}]
acciones, constade el quérum per haliarse presentes los socios qua
representa el cien per clanto (100%) del capital social de “ME'I`A}S, C.A.”, ge
prescinde dc 1a couvocatoria y se declara vélidumcnte constituida la Aeambiea

 

 

r Geneml Extraordinaria de Accionisms, para deliberar sobie los puntos de 1a

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agenda convenidos af siguiente tenor: l) bni`orm\@.~1 del conzisario; Z)

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Consideracién, aprobacic’)n, improbacién o modificaci()n del Bainnoe Gene§al
v y Est_ados de Ganancias y Pérdidas del ejercicio eccnc')mico commendido entre

 

l § v el 01-01~2008 3131-12~2008; 3} Cambio de domicilio de la oompa£jia y 4) "
§§ .' Modificacic')n de 1a cléusu!a Ten)exa del Documento Constitutiv<') Estatutario.
§§;/ facto seguido se procedk') a desarroilar la. agenda de cate thodo: 1) 131 §00¥0..

~ ’l'OLEL SAID DAVID en an caréctr,r de Presidente de 1a compax”aia, did

lectura al inform del Comisado, consignado, conjnntamente c&\e_lBalm1w

, Genera] y cl eoi'rwpondiente Estado de Ganrmcias y pérdidas 8131/12&008;

Z) Seguidamente los accionis!as analizaron`el Bsiance Gemral a131/12/2008

y el Eétado de Ganancias y pérdidas correspondiente al ejercicio econémi_co

§§ transcurrido entre el 01/01[2008 al 31/1?!2008; resolviéndose de manera
: z‘"_h unénime la aprobacién de los mismos; 3) Los socios acuerdan per unanimidad
;‘ cambiar el domicilio de 1a compama, por razones de indole comer<>ial a §§
§§ ciudad de Porlamar, M\mioipio Maxi§o del Estad_o Nu§va Esparta y 4)
z ':,_ Modificacién de la cléusula 'l‘¢xcera def D'ocumeoio Constitutivo Estatutario,
como consecuencia del cambio de doxu'!cilio de 1a compafila y po`r unani!m'dad
fue aprob§da la modiflcaciim y redacc,ién definitive de la mencionada cléuauia

 

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DATF, : 30/06!2010

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BEH~{UT ~ LEBANON

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‘ GRJ)ER FOR TRANSFER

BANK NAMB BANK C‘P` NOVA SCOTLA
_ ADDRBSS 555 CHABANEL SL W MONTERAL, QUEBEC HZN ZH'?
SWIFTE `NO. :NOSCCA I_T

BENEFICIARY : LA SENZAINTERNATIONAL
TRANSIT :20081 002

ACCOUNT NO 1 0_0887~14

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CHARGE WILL BE DEDUCTED FROM THE AMOUNT

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New LSne Exchan§e_
1{1131 Co. S.A.L.

nas Be:rur, Caraoas Szreet up mom to iam house Tel: +961 1 7_44808/809. Fa>.<: +961 1 744810

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 52 of 150

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555 Chabanel St. W

Montreal, Quebec
HQN ZH?

Accoum; # 00387-14
Transit 20081 002

Swifr eon NOSCQATT

DlRECClON '.

1608, Boutevard St~Reg|s
Dorva!, Quebec, Canada
HSP 1H6

Tel (514) 684-7700

Case 1:17-cv-02780-T.]K Document 22-8

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DATE :'16/06/2010

v MM, Le§ax)ese szadian Bank S.A.L.

ST -, CHARLES BRANCH.
E}BIRUT _ LBBANGN

REF.NO.;m<z/z@oe)

7 ORBER 1103 TRANSFER

BANK NAME : BANK OF NOVA SCOI` iA ,
` ADDRBSS :555 CHABANEL S'I` W MON.TERAI QUEBEC HZN 2H7

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BENBF)C!ARY: LA SBNZA lNTERNA'i‘IONAL
TRANSIT . ;20081002 ~
ACCOUNT NO: 00887~14
AMOUNT:SO0,00G '( five hundreds thousand dollars)
P. UNDERWEAR
'V- BBST REGARDS

611 11 }) I_ 'ISMAIL mosssz

,New Line Exch'ange
Trust Qo. S.A,L.

 

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Ras Beirut Caraoas StreetUp 100m to lamb house Tel: +961 1 744808/809 Fax. +961 1 744810

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 79 of 150

 

   
  
 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 80 of 150

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 84 of 150

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I,cbanesc Canad\ian Bank S.A.L
S'l`~Charles Branch.
BBIRU'Z` ~ LEBANON

RRF., NO.: 66!20()9

ORDER FOR TRANSFER

C<)rrespondent Bank: HSBC BANK USA NA NEW YORK

1 Account # : 000-04441»5
\»'/ , CHIPS UID 075995
v SWTPT CODE : MRMD US33
FEDWTRE # : 021 001()88
Bank name : HSBC
Swifi code : HSBCHKI-IEIHKH
Beneficiaxy z FULL S'[`AR GARMENT LIMITED
Account # : 004-178~830774-201
Amount : US$148,500 (onfy one hundred forty eight thousand
five hundred dollars . USD) `
Reason : Payment of invoice RCI-08-032 of purchase of cfoths
\/ (jeans)'
_\/ ‘
YOUR COMMISSIONS AND CHARGES ARE TO BE DEDUCTED FROM THE
TRANSFER AMOUNT. ‘
BEST REGARDS
ZIAD YOUSSEF
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dew me E*°“'°‘“g
_Y¥u$\ CO_ S_A.\.\

Ras Beirut, Caracas Street U`p XOOm to lamb house Tel: +961 1 744808/809, Fa><: +961 1 7448?0
‘ e-mait: newline.exchange@hotmai|.eom 4

739 FNK 7782 1135

 

 

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BEIRUT: 07/10/2003

Ban!< Beirui and z\rab Countries
szmra Branch.
Beim€ ~ l.eba11011

REF° NO.:' 63£2{}08

 

ORDER FOR TRANSFER
\J Correspondent bank: CITIBANK, N.A. NEW YORK
A,B.A. : 02100()039

BANK NAME : BANC_O ALIADO, S.A. PANAMA, REP PANAMA
ACCOUNT # : 36083741
.Swif’r code : BAALPAPA

BENEFICIARY t SASA CORPORATION S.A.
ACCOUN'I' # : 151~0010157

A.DDRESS : Direccion Zona Libre Colon Rep` Panama
AMOUNT : $92,_535(Ninety two thousand five hundred thirty five USD)
REASON : Payment of invoice JB-08~026

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AMOUNT.

BEST REGARDS

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Ras Beirut, Caracas S\reet Up 100m to lamb house Tef: +96“1 1 744808/809, Fa><: +961 1 744810
e~mail: newiine.e><change@h_otmai!,com

741 FNK 7782 1137

 

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FAVOR MANDAMEQ%Q{)<)AESTACUBNTA » » ~ ' - ~ ~
PAY To ; CITIBANK,N.A NEW YORK(ABA NO
N0.021000089) FOR CREDIT TO BANCO

AL;ADO,S .A PANAMA,REP.PANAMA

ACC€)UNT NUMBER .36083741 F€)R PINAL

CREDH‘ TO SASA CORPORATIGN S,A q 5010 0
ACCOUNT 151»0<)10157 DIRECCION zONA
LDRE COLON . REP. PANAMA 1 .
SWIET». BAALPAPA

    

743 FNK 7752 1139

 

 

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BE!RUT: @7!! 0/2008

Bzmk B<)irui and Arab Countrics
Hamra anch.

Beirut - Lebmxon

REF, NO.: 452/2008

 

ORDER FOR TRANSFER
"\./ Bank name ; HSBC
Address : HSBC building 82-84 Nathan RD., Kowioon Hc)ng Kc)ng‘
Swift code : HSBCHKHHHKH
Benei`:ciary : JADORB {H,K.) L.T.D.
' Address : Chattan Road Beverfy Comm, Center Tsim Sha Tsui, Kowloon
Account # : 817-063753~838 (multi currency)
Amount : $191,040(0ne hundred ninety one thousand forty USD)
Reason : Payment of invoice IB-OS~O?A of purchase ofjeans.

YOUR COMMISSIONS ANI) CHARGES ARE 'I`O BE DEDUCTED FROM THE TRANSFER
AMOUNT.

BEST REGARDS

ZIAD YOUSSEF

 

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744 FNK 7732 1140

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 91 of 150

   

BEIRUT: 126/09/2008

Bauk Beimt and Amb Countries
I~Iamra Branch.

B::irut - Lebamm

REF. NU.: fig/2008

 

ORDER F()R TRANSFER
Bank name : HSBC
,. Address : HSBC building 82~84 Nathan RD, K<)Wioon Hong Kong.
"~- " Swift code : HSBCHKFH{HKH
Benei`lc`iary ; JADORE (H.K.) L.T.D,
Address : Chattan Road Beveriy Comm, Center 'l`sim Sha Tsui, Kowioon
Account # : 817-063753~838 (multi cuirency)
Am<)unt : $l98500(0ne hundred ninety eight thousand five hundred USD)
Reason : Payment of invoice JB~08-024 of purchase ofjeans.

YOUR COMMISSIONS AND CHARGES ARE TO BE DEDUCTED FROM 'I`HE 'I`RANSFBR
AMOUN'}"

BEST I_{EGARDS

ZIAD YOUSSEF

Ras Beirut, Caracas Str@et Up 100m 10 lamb house Tel: z~961 1 744808/809.1:@)<: +961 1 744810
e~mail: new|ine.exchange@hotmai|,com

746 FNK 7782 1142

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 92 of 150

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DA'IE; 26/09/2&33

CASH S ON SLIP

TRFRBE` ¢J: 61!2.003

TRANSFERER NAME¢ MGHAMAD AWADA 1131in

 

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Ras Beirut, Oaradas Su'ee\ Up 100m 10 iamb house Te¥; +961 1 744808/809, Fax; 1961 1 744810
a-mal!' new|me.exchange@hotma\i.com

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 95 of 150

 

BE§RU'I`: 26/09/2008

Bank Beimr and Acah Countrics

Hamra Branch.
Bciru€ - lebanon

REF,, NO`: 130/2008

 

ORI)ER FGR TRANSFER
Bank name ; STANDARD CHARTERED BANK, HONG KONG
SwiB code : SCBLHKHHXXX
Bank code 1 003
Benef`lciary : YOKO DEVELOPMENT LTD
Address : 891 floor, Bank of Comm. Blg 368 Hezmessy road Wanchai
Hong Kong
Account # 1447 066 8696]
Amount : 100,0()0 (one hundred thousand US dollars only)
Rcason , : Payment of invoice JB~OS-OZG of purchase ofjeans.

YOUR COMMlSSIONS AND CHARGES ARE TO BE DEDUCTED FROM THE 'I`RANSFER
AMOUNT.

BEST REGA RDS

    

ZIAD YOI/ ; .

New Line Exchange
-Trusl Co. S.A.L.

Ras Beirul, Caracas Streel Up 100m to lamb house Te|: +961 1 744808/809. Fa><: +961 1 744810
e-mai}: new/fine.exchange@ho’cmail.com

750 FNK 7782 1146

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 97 of 150

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DATE.~ 26/0912008

CAS§ T§MSACTIOQ §L}_:§

m m #: amos 3
TRANSFERER NAME: MOHAMAD AWADA Chib§i
AMOUNT RECE[VED: 100,000$ CASH

SGURCE OP MONEY: business ( Multyco!oc cumpany)

TRF SIGNATURE

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Hes 591qu Caraces Sueelup mem to lamb house Tel' +901 1 744808/‘509.¥:;1><' +QSi 1 744810
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752 FNK 7782 1148

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 98 of 150

 

BE¥RUT: 02/09/2093

MM., Lebancse Canacl§an Bnnk S,A.I,.

515 . anRLES nnANCHv
BEiRuT~ LBBANON

REF. NO..; 541/2008

ORDER FOR TRANSFER

h , By debitA of our account 173902 kindly effect the foilowing transfer:

Bank name : STANDARD CHARTERED BANK, HONG KONG

Swift code : SCBLHKHHXXX

Bank code : 003

Benefrclary : YOKO DEVBLOPMENT LTD.

Address : 8“‘ floor, Bank ofComm. B]g 368 Hennessy road, Wanchai, Hong Kong
Account # : 447 066 86961

Amount : 100,000 (one hundred thousand US dollars onfy)'

Reason : PURCHASE CF IEANS

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BES'I` REGARDS

Z.lAD YOUSSEF

 

Flas Beirut. Caracas Sireet Up 100m to lamb house Te!: +961 1 744808/809, Fax: +96"1 1 744810
e~mai¥; new/line.e><change@hotmail.com

 

753 FNK 7782 1149

 

Case 1:17-cv-02780-T.]K Document 22-8

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DATE: 02/09/2008
CASH TmNSACfI‘zON.SLlP
TIU" REF #: 511/2003
TRANSFERER NAMEE MOI'IAMAD AWADA
AMOUI'\IT RECEIVED: EOO,UOG$ CASH

SOURCH OF MON`EY: BUSINESS _

TRF SIGN 'FURE

§§

Ras Beirut, Caracas Stree! Up 100m to !amb house Tel: +961 1 744808/`809, Fax; 1961 1 7448$0
e~mail: newiine.exch`ange@hotma§¥.com

755 FNK 7732 1151

 

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 101 of 150

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BEERUT; 24/()?/20(18

MM. Lel)zmese Canadian Bzml< S‘A,l,.
511 - CHARLBS BRANCH.

BESRUT » LEBANON

REF., NO.: 411/2008

 

C)RDER FOR TRANSFER
;V By <lebit_ of our account 173902 kindly effect the following fran.<;i`cr:
Bank name : STANDARD CHARTBRBD BANK, HONG KONG
SwiH code : SCBLHKHHXXX
Bank code : 003
Beneticiary : YOKO DEVBLOPMENT LTD.
Adclress : 8"‘{1001‘, Bm)k of Comm. Blg 368 Hennessy road, Wanchai, Hong Kong
Accouut # : 447 066 86961
Amounl : 100,000 (one hundred thousand US dollars only)
Reason : PURCHASE OF JBANS

. YOUR COMMISS[ONS AND CHARGES ARE 'i`O BE DEDUCTED FROM THHTRANSFF.R
\/ AMOUN'!`.

BES'l` REGARDS

ZlA D YOUSSEF

 

Ras Beirui. Oaracas Street Up 100m to lamb house Te!: +961 1 744808/809. Fa)<: +961 1 744810
e~maii: newline.exchange@hotmail.oom

756 FNK 7782 1152

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 102 of 150

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DA'I`E; 241/0 7/2008

CASH TRANSACTION SLIP

TRF RBF #: 110/2608

1‘11ANSPE11ER NAME; 140111111111) AWADA
AMOUN;“ RECEI\IED; 100,000`:'1 CASH

"'{ SOURCE OI" MONEY; BUSINESS

TRFSIGN T RE

 

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Ras Beirut, Caracas Street Up 100m 10 iamb house Te!: +961 1 744808/809, Fa><: +961 1 744810
e-mail: newllne.e><change@hotma¥|.com

758 FNK 7782 1154

 

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759 FNK 7782 1155

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 105 of 150

 

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 107 of 150

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" ' capital = 250.600.00'0' L.M'.s.c 619 BEIRU;: 1§/09/2008

 

BANK BB}RUI` AND ARAB COUNTRIES
HAMRA BRANCH
BBIRUT ~ LEBANON

REF. NO,,; 5952008

 

 

ORDER F()R TRANSFER
,. Bank name : BANK OF CHINA WENZI-IGU OUHAI SUB~BRANCH
\/ Swift code : BKCHCNBJ9ZB
Beneficiary : LIN JIN GUANG
Account # : 45635 16206012852185
Amo\mt : $85,4}?(eighty five thousand four hundred seventeen USD)
Reason : payment of Inv No; : 2008060901 Lady’s jacket purchase
YOUR COMMISSIONS AND CHARGES ARF. TO BE DEDUC'I`ED FROM THE
TRANSFER AMOUNT.
BEST REGARDS
\__/ .
ZIAD YOUSSEF

 

Ras Be\rul, Caraoas Street Up '100m 10 lamb house Tel: +961 1 744808/809, Fax'. +961 1 744810
e-mail: new|ine.exchenge@hotmai¥.com

762 FNK 7782 1158

 

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?§MWW$/EEE§§WBM§§}

WENZHOU SHIHUE. GARMENT CO.,LTD

 

N<).?,Rixin Road,}(iao lud.Disv‘ict,Pudong,)< inqia<).Ou}mi ,WQHZJ\QH,CHJNA
Tei:Sé-S’?’/`~SGZS} 885 Fax:S(S~SW-Béi 8188?
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Marks iia .[iem No. Qua:m`ty Descriptiou UnitPsiquRLdB Totai anue(RMB}
" Q~sv 960 P<:s LADYJACKET ¥37.00 ¥33, 132<). 00
Q-so 960 PCS LADYJ,\<:!<ET YQO.G@ ¥86, 400. 00
1156 960 PCS LADY JACK ar ¥76. 09 ¥?2, §§60. 00
Q»§?, 960 PCS LADY JAC;< @T ¥90. 00 ¥86, '100. 00
Q~s!i 960 FCS LADY JACKW.T ¥96. nis ¥92, 1-60. 00 ,
Q~S$J 960 PCS LADY JACK ET ¥98. 06 ¥94,» @80. 00
P-35 960 PCS LADYJACKET 5539. 00 ¥85, 440. 00
P113 960 PCS LADY JACKBT ¥105.00 ¥100, 800. 00
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FNK 7782 1159

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 109 of 150

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 110 of 150

   

 
 

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CA§H TR&NSACTICN SLIP

7le RF.F #:59;20111;
I`RANSFERER NAME: MOHAMAD BL HALLAK
A`MOUNT RECE{VBD: 854 1']$ C‘ASH

SOURCE GF MONEY: }'acket’s BUWDY{;JEN & WOME,N)

TR W:SIGNATURE

 

Fia -eeirut, Geracas StreetUp worn rotamb house Tei' 1961 1 744£|08/809, Fax. +96$ 1 744810
e“man: newiine.e><<:hange@hotmail,com

b id 83339€¥83393¥9 =°.E. GWQW.`£WBBB BBNd-D>G-BNIT~PE~J iW?~‘d Z’.-I= £`5 8298"6%"€2

 

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§ ,
“New Lme Ex¢han§e Trust Co_mpany S.A.L

 

BANK BEIRUT AND ARAB CCUN'§`RIES
HAMRA BRANCH

BEIRUT »~ LEBANON '

RER NO.: 58!20118

 

ORDER FOR TRANSFER

Bank name ; BANK OP CHENA WENZHOU GUOMAO SUB“BRANCH
Sw‘ifc code : BKCHCNBJ 9213

\ W Benef`zciary : WENZHOU SANX§N INTERNATIONAL TRADING CO. LTD
Accouqt # : 820036010008091014
Amount t $37,577(thirty seven thousand five hundred seventy seven USD).
Reason : payment of Inv No. :2008063 001 La}iy’s jacket (Zhao Xiao Yan)‘
Y()UR COMMISSIONS AND CHARGES ARB TO BE DEDUC'I`ED PROM THE 'l`RANSFER
AMOUN'I`.
BES'I` REGARDS
ZIAD `_YOUSSEF

\r‘\/

 

Ras Beirut, Caracas Street Up 100m to lamb house Te|'. +961 1 744808/809, Fax: +961 1 744810
e-mai|: newline.e)<change@hotmail.com

766 FNK 7782 1162

 

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Caf’"a’ 1250~090'009 BEIRUT; 19/09/2003

BANK BEIRU'{` AND ARAB COUN'.E`RIES
HAMRA BRANCH

BEIRUT ~ l,EBANON

REF. NO.: 58!2008

 

ORDER FUR TRANSFER

Ban§< name : BANK OF CHINA WENZHOU GUOMAO SUB_BRANCH
Swift code : BKCHCNBJQZB

\ v Benef`iciary : WBNZHOU SANXIN IN'}'ERNATIONAL TRADING CO` LTD
Accout}t # : 3200360100030910}4
Amount : $37,5'77(thirty seven thousand five hundred Seventy seven USD).
Reason : payment of inv No. :2008063001 La'dy’sjacket (Zha<) Xiao Yan).
YOUR COMMISSIONS AND CHARGES ARE TO BE DEDUCTBD FROM THE TRANSFER

l AMOUN'I`.

BES'I` REGARDS
ZIAD YOUSSEP

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Ras Beiru!, Caracas Street Up 100m to lamb house Tel: +96‘1 1 744308/’809, Fa><: +961 i 7448”}0
e~mai|: new|ine.e)<change@hotmaii.com

767 FNK 7782 1163

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 113 of 150

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'wEMHoU sAMN mTERNATIONAL TRA mch CG.MD

No.?O\ELixin Road,){iao 111d.Dis\rict,?udong,){inqiao.@uhoi ,We))?,hon.CHIN)\
Te1:86-57’]»8618 1778 532:86-577-86181556

 

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\~ .102# soo yes mm"$mc\<m ¥43.@0 ¥23,800,0(1 .
!.03# 600 PCS LAD\"S JACKF.T Yd:§. 00 ¥28, 800. 0<:
1043 600 Pcs LADY's:,-xcr<e'r ¥41.00 ¥26,400.01:
6001¢¢ 480 PCS LADY'sj.¢\cKET ¥4?, 00 ¥22, 560.0,
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6001§1$ 480 PCS LADY'S IACKET ‘-{E.B, 00 ¥31, 200. 01
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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 114 of 150

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HM{RABRANCH HATE &u\;§g 3 19/09/03

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PO.BOX 1515363¥{¥]§{)’]_" ~'

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 115 of 150

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‘DATE: ES*/DQ!$ZOOR '

§ASH TRANSACI`ION SLIP

'E'RF REF !¢: 58/2008
`[`RANSFERBR NAMB! MOHAMAD £€L I{ALLAK
AMOUNT R.ECEIVED: 3”)’5‘7'7$ CASH

SOURCE OF MONBY: Jacket’s BUSZNESS (ME`N &, WOMEN)

'FRF SIGNA'}`URF. _ .»'»~

 

Ra 8
s e)ruc, Oaracas StreatUp 100mtolamb house Tel: +981 1 744808/8€% Fax~. +961 1 ;'44610
e`ma“¢ new""@~e><¢hange@hotmazl.com
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2 ’c| 622€9€$6@9899=°1 93811!='£¥¥95% 335-213

770 FNK 7782 1166

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 116 of 150

 

BEIRUT: f‘)/GWZUOS

BANK BE{RUT AND ARAB COUNTRIES

HAMRA BRANCH
BEIRUT ~ LEBANON

REF, NO,‘: 57!2{103

 

ORDER FOR TRANSFER
Bank name : AGRICULTURAL BANK GF C}HNA FUHAN BRANCH
SWZR che : ABGCCNBI 130
Benefi€iary 2 ]}BSHENG TRADING CO. LTD. FUHAN
Account # : 13540114040000743
Amount : $40,279(f01ty thousand two hundred‘seventy nine USD),
Reason : payment of Inv No. :200803 2501 purchase ofjackets.

YOUR COMMISSIONS AND CHARGES ARE TO BE DEDUCTED FROM THE TRANSFER
AMOUNT.

` BEST REGARDS

ZIAD YOUSSEF

     

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/zco.s.A.L.

Ras Beimt, Caracas S!reet Up 100m to lamb house Tel: +961 1 744808/809, Fax: +961 1 744@10
e-mai!: new|ine.e><change@hotmaii.com

771 FNK 7782 1167

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 117 of 150

JPPWW}~W/VFWBEW

t 1 FULAISI TRADE FASHION GARMFENT n
47# Shop Luchng Road Shishi. City Fr)jialz China Tel:X!i-§Q$-SS'IS%Z?. Fax:86-595-83836427

 

 

 

 

 

 

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Marks &, Item_No. Quantitv Description Unit?zice(RMB TotulVa§ue(RI\/IB;§
601# 720 PCS LADYJACKBT ' ¥60.00 Y<;:z,zoo.oo
iv 603# 720 PCS LADY JAc¥. ET Y§o.e€) ¥43, 290, 00
604# 720 res LAI)Y mcr<m~ Yeo` 00 ¥43, 200. 00
605# 720 P<:S LADYJAcz<Er ¥60. 00 ¥43, 200. 00
smc 720 Pcs LA:)YJACKBT Y<so. 110 ¥43, 200. 00
7203$ 720 PC.S LADY JACKET ¥62. 110 ¥44,1540,00
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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 118 of 150

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 119 of 150

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DATE; f€P/U‘JEZUOR

g_;x§H mN§A c'HGN §Lg §§

TRF REF £: 5?!20{)8
TRANSFBR_ER NAMB: MOHAMAD_EL HA].LAK

AMOUNT RECEWBD: 40279$ CAS.H

SOURCE OF MONEY: jacke£’s BUS[NESS (MBN & WOMEN)

'f`RJ2 SiGNA'I'URE

 

Ra
a E@irut, Caracaa Street Up 100m toiamb house Tel~ 4961 1 ?448081809, Fe_~<: +961 1 ?44610
e~mail: newline.exohange@hotmakl.oom

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BEIRU'!`: 39/09/2008

BANK BE!RUT AND /\RAB COUNTR§ES

HAMRA BRANCH.
BE!RUT ~ LEBAN ON

REF. NO“: 56/2008

 

ORDER FOR TRANSFER
Bank name ~. 110ch KONG HSBC BANK
Swi{"t code : HSBC HKHH HKH
Addrcss :71~85}3 Hennessy Road Wanchai Hong Kong HSBC Wanchai
Branch
Benef`lciary : GUO YU GUI
Account# : 110888880833
Amount : US$ l9900(nineteen thousand nine hundred USD)
Reason ; Freight payment expenses to Shenzhen lnternational Co., LTD

YOUR COMMISSIONS AND CHARGES ARE TO BE DEDUCTED FROM 'FHP,'I`RANS FER
AMOUNT.

BEST REGA RDS

New Line Exchange
Trus! Co. S.A.L.

 

Ras Be§rut, Caracas Sfreet Up 100m10 lamb house Tel: +961 1 744808/809. Fa><: +961 1 744810
e-maii: newline.exchange@hotmai|.com

775 FNK 7782 1171

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 121 of 150

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1350MARBWABDELA$QZSTR ~ ,_,_._,J", _,
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Case 1:17-cv-O2780-T.]K Document 22-8 Filed 02/28/19 Page 122 of 150

 

DATE£ 19/09/2008

CAS=I$ f!RANSAQTIQN SLIP

nw Rmv in scs/2003 `

IRANSF.ERER NAME; MOHI§MAD El. HA,LLAK

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AMOUN'V RECEWBD: 19900$ CASH

W SOURCE 0}1` MONEY: Ia.<)ket’s amf Clol'hes business

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e~man; newirne.exohange@hozmai!.com 0

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BP,IRU']`: 07/08/2008

MM. chunese Canadian Bank S.A.L.
S'z‘ - C§-lARLES BRANCH.
BEIRUT ~ LEBANON

REF. NO.: 46/2{]08

ORDER F()R TRANSFER

01 _/ By debit of our account 173902 kindhy effect the fo¥lowing transfer:

Bank name : BANK Ol'<` CH[NA (HO)NG KONG) LIMITED
Swii¥: code : BKCHHKI~H~D(XX
Benei`lciary : WONG FUNG TUEN
Account # : 01275192034078 _
Address : MANSQUARE KWUN TONG KOWLOON H()NG KONG
Amount : US$79600 <stENTY NlNETHousANz) six HuNDRBD us Dox.LARs 0NLY)
Reason : SHOES PURCHASE

\) \’OUR COMMISSIONS AND CHARGES ARE TO BE DEDUCTED FROM 'I`HE TRANSFBR
AMOUNT. .

BES'I` REGARDS

ZIAD YOUSSEF

 

Ras Beirut, Carac:as Street Up 100m to lamb house Tei: +961 1 744808/809, Fax: +961 1 744810
e-mai|: new!ine.exchange@hotmai}.oom

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 125 of 150

 

DATE: 07/03/2008

CASH TRANSACTION SLH’

TRI~` REF #: 46/200$

TRANSF ERER NAME; MOHAl\/LAD BL HALLAK

AMOUNT RECEIVED: 79600$ CASH

\\/, SOURC_E OF MONEY: BUSINESS

    

'I`RF SlGN/\TU R}£

Ras Beirut, Caracas Street Up 100m 10 farwa house Tef: +961 1 744808/809, Fa)<: +961 ‘l 744810
evmait: newline.e><change@hotmail.com

780 FNK 7782 1176

 

 

   

Case 1:17-cv-02780-T.]K Document22-8 Filed 02/28/19

1 New line Exchan§£lmst C€)mpany S.A.L
011101\1250.000;000 L.N.B.c 070 '

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MM. chanese szadian Bam¥< S.A.L.
S'l` ~ CHARLES BRANCH.
BE[RUT LEBANON

REF. NO.: 431/2608

ORDER FOR TRAN SFER

By debit of our account 173902 kindfy effect ihe following transfer;

Page 126 of 150

E¥RUT: 28/()?/2008

Bank name : BANK OF CHINA (HONG KGNG) LIM{'[`ED

Swift code : BKCHHKHHXXX

Benef`lcial'y` : WONG FUNG ’l`UBN

Accolmt # : 01275192034078 1

Address ;MANSQUARE KWUN 'I`ONG KOWLOON HONG KONG
Amount : US$49800 (FouRTY NINE THousAND BIGHT HUNDRED usc om,\/)
Reason : SHOES PURCHASE

YOUR COMMISSIONS AND CHARGES ARE TO BE DEDUC'I`ED FROM THE TRANSFER

AMOUNT.

BEST REGARDS

’/.IAD YOUSSEF

 

Ras Beirut, Caracas Street Up 100m 10 lamb house Tel: +961 § 744808/`809, Fa><: +961 1 744810

e-mail; new/line.exchange@hotmail.com

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FNK 7782 1177

 

Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 127 of 150

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CASH TRANSACTION SL:P
TRl" REF #2431‘2008
TRANSFBRER NAME: MOI~IAMAD AL HALLAK

AMOUNT RECEIVED: 49800$ CASH

SOURCE 05 MONEY: BUSINESS

TKF SIGNATURL"

Ras Eeirut, Caracas Slreet Up 100m to lamb house Tei: +961 1 744808/809, Fax; +961 1 744810
e-mai$: new|ine.exchange@ho¥mail.Com

783 FNK 7782 1179

 

 

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BEIRU'§`: 24107/2008

MM. ¥-ebanesc Canad§an Bank S.A.L.
ST - CHARLES BRANCH.

BEIRU'!` - LEBANGN

REI?., NO.: 39/2(]{)8

 

ORDER FOR T_RANSFER
f’ ‘ By debit of cmr account 1’?3902 kindly effect 2112 foflowing transfer:
\/. .
Bank name :BANK OF CHINA (HGNG KONG) LIMITED
Swift code :BKCHHKHHXXX
Benef'\ciaxy` 1 WONG FUNG TUEN
Account # : 012'75192034078
Address : MANSQUARE KWUN 'l'GNG KOWLOON HONG KONG
AmOunt, § US$99600 (NIN_TY NINE THOUSAND S]X HUNDRED USD ONLY)
lleason : SHOES PURCHASE

YOUR C()MM!SSIONS AND CHARGES ARE TO BE DEDUCTED FR()M THE TRANSFER
AMOUNT.

BES'§` REGARDS

ZlAD YOUSSEF

 

Ras Beimt, Caracas Street Up 100rn to !amb house Te&: +961 1 744808/809, Fax: +961 1 7448?0
e-mail: newline.exchange@hotmaii.oom

784 FNK 7782 1180

 

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NSW _Lme Exchang@ wsi Company S~A,i_
b v rl€a`§jifz§(i-: 2501.{}9@.900 §_:N.B':G 579 7 DATE: 24/07:/2@08

CASH TRANSAC'I`ION SL{P
'§RF REF #: 391/2003
'1` RANSFERER NAME: MOHAMAD EL HALLAK

AMOUN(I` RECEl\/"ED: 99600$ CASH

SOURCB OI" MO_NEY: BUSINESS

TRP SlGN 'z‘uRF,

 

RQS Beimt, Caracas Street Up 100m to lamb house Tel; +96'1 1 744808/809, Fax: +96'1 1 744810

e-maii: nev/line.exchange@hotmai{.com

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FNK 77821181

 

Case 1:17-cv-02780-T.]K Document

   

22-8 Filed 02/28/19 Page 131 01 150

 

 

 

 

 

 

 
 
  
 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 133 of 150

 

 

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788 FNK 7782 1184

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FNK 7782 1185

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DATE: 10/0372010

MM, Lebanesc Can§dian Bank S.A.L.

` ST - CHARLES BRANCE~X.
BB}RUT w LEBANON

RLF No.£ 123/2091

13 v ORDER FOR TRANSFER
BAI\I'K NAME Z TAIPEI FUBON COI\{MERCIAL BANK

BANK ADDRESS 22 F 169 SBCTIGN 4 JEN AI ROAD TAlPEI 10636

   

TAIWAN
-BENEFIC:ARY 1 : HBI\/HNGSTONB MACHINBRY CO., L HINERY
.CO., LTD ' -
ACCOUNT NO. ; 410-17-00005%1
szFT ' : TPBKTWTP
'\/. - . ~: ._
: 4404 USI) (1£__15_?
) ' .
R_EAS ON _ : PLASTIC MACHINERY
/ f
03 11 51 11 .
New Line Exchange
Trust Co. S.A.L.
. MA:L YOUSSEF

Ras Beirut, Caracas Street Up 100m to \amb house Te|: +961 1 744808/809, Fa>,<: +961 1 744810
e~ ~mai|: newlinc-). exchange@hotmaiicom

790 FNK 7782 1186

 

 

Case 1:17-cv-02780-T.]K Document22-8 Filed 02/28/19

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Page 136 of 150

 

 

CUR BANK"¥`A|PE£ FUBON COMMERC|AL E»ANK
ZZF 169 SECTDGN 4 }EN A! ROAD `{A|PEI 10586
TMWAN

COUNTRY: TA!WAN

Swift codes YPBKTWTP

A,»'C NQ. 410-1?-000052~1

A/'C NAME. HEM!NGSTDNE MACH§NERY CO,,L'HINERY .CO,,%.TD

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FNK 7782 1187

 

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TA§WAN

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Case 1:17-cv-02780-T.]K Document 22-8 Filed 02/28/19 Page 138 of 150

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FNK 7782 1189

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DATE: 10/03/2010

MM¢ Lebanese Cana<iian Bank S.A.L.

S'r » Cl'zARLES BRANCH. l
BEH§UT _ LBBANON

REF‘ NO,: 112/2069

\1/ ORDER FOR TRANSFER
BANK NAME ; 11UA NAN. COMMERCIAL BANK , LTD.

BANK ADDRESS : 38,SEC.1, CHUNG-KING SOUTH ROAD , 'I`AIPEI

, TAIWAN, R.O.C.v
.BBNEFICIARY : KUNG HSING PLA$?;C MACHINERY co., 1111
ACCOUNT No. 4 600-99-000168_5
swmir ' y = HNBKTWTP §

'\.\/` AM.OUNT : 754 _vsl) ("r-Séven hundred and' fifty doi[ars )
REASON` : PLAsTIc MACHINERY

BE REGA S

New fide Exchange
Trust Co. S.A.L.

€1)1@)\4

'lS lLO

Ras Beirut, Caracas Streel Up 100m to lamb house Tei: +961 1 744808/809, Fax: +961 1 ?44810
e‘mai|: new/line.exchange@hotmail.com `

794 FNK 7782 1190

 

Case 1:17-cv-02780-T.]K Document22-8 Filed 02/28/19

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D. BAN_)< oF seLLER.~ ‘ ».
mm NAN coMMERc\AL BANK, LTD. 1

38, s£c.x, cHuNe-Kms souTH ROAD, mp€!, ?A:WAN, R.cv.c.

swcFr ADDRESS; HNB)<TWTP

cABLE ADDRESS: "HuANANaANK“ TA¢PE§

mm AUDR€S$: P.o.@ox 989 mem

IN EA\/OR 0?: KUNG Hsms P`LAST|C MA<;HBNEM co,, am

Ac<:oum No.: 600~99~000163~5

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FNK 7782 1191

 

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§§§> MWHY#MMMQM

"w,;f KUNG HSING PLAS'HC MACHINERY CU., LTD,

 

 

§§'L.\B HEAD omce : fait/ga mm omce;
B§MB?H¥IKIS§¥§'PF?$ 591 éiit'r§$if<f€¥§i§§ 5 8 §ERS.E?<§§ 9 ?BZ 6
13 emma Hsrm ROAD, cam w mousmm 994 rim/mm Bu)G, ss, samoa 3.
D!smcr, cum-w Hsnzw, mwAN, R.u».c. QMG.TH£ ROAL), rmer. TM\\IAN, Ro,c.
mm +226.5.2174466 m LlNEs) TE;..~ +srm-st\ssae') (3 Lmr;s}
FA)<: +sxc»s»mwn. mims Fsz +asa-z-zsauss?
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QUOTATION
Sta rli ht Pol theme I’mducls Indusfries Ltd SPPIL / EID Feb.. 25,2010
Spare paris for # 2833 KS»FE¢$$S F.O‘B.
lr Midd§e Rubber Rol%cx @US$ 410.0{3 x l pc US$ 410.00
Z. Winder hooker @US$ 85.00 x 4 pc US$ 34€}.90
3. Bull for W`mder Locker @USS 0.10 x 43 pc US$ 4.0€)

 

FOB US$ 7511.00

RBMARKS : A. VAL]D OF 'I`HE QUOTATION : 30 DA‘{S
B. TIME LTMIT OF DELIVBRY : 20~25 WORKING DAYS AFI’ER RECEIPT OF 'I`/l`
C. PAYMENT: 100% T/I` BEFORE SHIPMEN’I`
D. BANK OF SELLER:
HU!\ NAN CO}'UERCIRL BANK, LTD.
38, SEC. 1, CHUNG-KING SOUTH ROAD, TAIPEI, TAIW\N, R. 0. C.
S$¥IFT ADDRESS: HNBKTF\"I`P
CABLI§ ADDRESS: “HUANANBANK" TAIPEI
}.{Afl, ADDRESS: P. 0, BOX 989 ’I`AIPEI
IN FAV()R OF: KUNG HSING Pl.ASTIC MACHINERY CO. , LTD.
ACCGUN‘I` NO. : 600~99*000168~5

MOMY:MM

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DATE: 10/03/2010

MM. l,ebanese Canadian Bank S,A,L.

-ST~cHARLES BRANCH. '
BELRUT _ LEBANGN

REF. 1101 121120119

 

  

\_/. OR])'ER 11 OR TRANSFER
BANK NAME ; PIRST COMMBRCIAL BANK , I»IEAD OFFLCE
BANK ADDRESS : P.O.BOX 395 _TAIPEI , TAIWAN '
BENEPICIARY `: mrch KUBN Pl,-ASTLC MACHINERY CO., ma
`ACCOUNT No. : 5014 0000 940
swrF'r _ z FCBKTWYPXXX
~.../l

REASON : PLASTIC MAC`H!NERY

' hang€ `
New me F~X°
"§NSL CO. S.A.L»

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Ras Beirut, Oaracas StreetUp 100m 10 famb house Te!: +981 1 744808/809, Fax: +9§51 1 744810
e~maiE: newiine.exchange@hotmall.com `

798 FNK 7782 1194

 

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A,'c No. 5014 woo 940

BENEF£C{ARY : DllNG KUEN ?LAST§C MACHENERY CO,, LTD

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""f DEENG KUEN PLASTIC MACH!NERY CO,., LTD.
£~H:&{KWE~GI-£E+NBSZ§ No.SZ,Chung Shan Rd.
g§;(g§§ 32§7453 -33174_10 M!nhalung lnduslda! Araa.
I`:(G§ 2211418 Cma Yl Hslan. Ta¥wan], R.O.C.
TBI: 886-5~2217’4[18 2217410
ISO 9001 CERT NO} 83229 FAH:BHE~S-ZZT?¢$’U
PROFOR.MA-ENVOICE
’i` O: ST.»\RLIGHT POLY'I'HBNE PROD. IND. LTD DATE: FEB 08 20 30
P,O. BOX 2627 ACCRA, GHANA OUR REF:TK~IOOZOS~¥

TEL: 233¢21 666 206

WE ARE PLEASED 'I`O QUOTE YOU AS FOLLOWS:

l.PRlCE TERM: C & 52 ACCRAI AIR PORT

E.TlMB OF DELEVERY: WZ'I`HIN 36 DAYS AFI`ER RECIBPT OF YOUR Tfl`
3.TERMS OF PAYMENT: BY Tf]‘

4.VAI.TD[TY: 30 DAYS FRC)M THE lSSUING DATE

Sl./C BENEFIC!ARY: DHNG KUEN PLASTIC MACHINBRY CO., LTD.

DESCRIPT!ON OF GOODS Q"I`Y UNIT PRLCB AMOUNT

 

SPARB PARTS Y‘UR '[`K¢EM\[ 45 ( 0468 )

I. 451¢[.\1 BI~MEI`ALIC SCREW , 30:1 6 PCS US$ 1,900. US$UAOO.-
2, 45 L'M BI-METALIC CYLINDER , 3011 1 PC US$ 3,900,-

 

FOR TAIWAN HS$lS,SUG.-
MR FRBIGHT US$ 1,850. »

C & F TE/\MA US$I'],I$O.-
WVVWWVWV

l ' BANK IWORHATI(N:

FIRST CO!!MERCIAL BANK, HE&D OFFICE
P.(). BOX 395 TMPEI, T)\IWAN

'I`ELE.X NUMBER : “11310 11729 “
SWlFT CODE : FCBK’NI'P)G(X

A/C NO. 5014 ()OOO 940
BB\IEFICIARY : DIING KUFN PLA§I`IC MACHINERY CI). , L'ID

800 FNK 7782 1196

 

 

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NWYBHM§U&I

@
DHNG KUEN PLASTKC MACHINERY CG., L.'I`Do

§I:§RH\R&I?K+>I»B$BZ§,

§ §§ : C65 2211408 *ZZ}NI§
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330 5001 CEHT NO; 83229

T O: S'lmm`§§T POLYTHENB PROD. IND. LTD

F.O. BOX 2627 ACCRA , GHANA

TEL : 233-21 656 206

WE ARB PLEASED ’I`G QUOTE YOU AS FOLLOWS:

1.PRICE TERM: C & F ACCRA,A!R PO'RT

No. 32, Chung Shzm Rd.
Minhahung industrial Araa.
Chla YE Hs!en. Taiwan, R.O.C.
Talz 886-5221?4€18 221?41[1
Fax:BRG&-ZM?MS

PROFORMA*INVOICE

DATE; MAR 03 2010
OUR REF:TK~!UOSOS-l

Z.T]ME OF DBL!VBRY; WITHIN 30 DAYS AFPER RECYEP’I` OF YOUR T/T

3.TERMS OF PAYMENT: BY T/T

4.VAL[DITY: 30 DAYS FR.OM THE ISSUING D)"\TE
S.L/C BENEF{C[ARY: D]ING KUEN PLASTIC MACH§NERY CO., LTD.

 

DESCRIPTION OF GOODS Q‘TY UNIT PRICE AMOUNT
SPARE PARTS FOR 'I`K-EMM 45{ 046§ 1
l. LOCKER FOR WINDING SHM"I` 12 PCS USS 50.- USS 600.-
Z,T`AKE~UP RUBBER ROLLER 165 (I)>< 450 M l PC USS 295.-
3. VOLTAGE ADJUSTOR SL[DAC SEMOZ FOR WINDER 6 PCS USS 125.- USS 750.~
4. COMPLE!`B SET CONTROLLER ( INCL. I’C BOARD ) 2 PCS US$ 295.- USS 590.-
FOR TAKE~UP DC MOTOR
5. 'I'ECO INVERTBR 20 I-lP , MODEL MATYPB l PC US$ 1,150.-
6. HEA'I`BR PI.UG 15 PCS US$ 8.- USS 120.‘
7. ll4 HP BLOWER 4 PCS US$ 115.- USS 460.-
8. 15 KGS/CM MO'I`OR FOR WINDER l PC US$ 280.-
9. 3 HF MAlN `BLOWER 1 ?C US$ 590.-
IO. SWTICH ON-OPF, 3P BEH}IS{ 8 PCS USS I7.- USS 136.~
USS 4,971.-

801

AIR CAROO USS 2,630.~

C & FACCRA US$ 7,651.-
VVVVVVVVVV

 

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FRUN KLCB St CHJ:IRLES B)"anch FRX NO. '321366337 12? 1‘131‘. 1@ 2919 @314_{'!:1`1 194

 

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MM. Lebzmese Canad§an Bank S.A.L.

ST~ CHARLES BRANC;§_ '
BE;RUT ~ LEBANQN _

REF. No.: zim/2099

oRDER FOR TRANSFER

DATE: iU/GS/'ZO } 0

BANK NAME z FLRST C<)MMERCIAL BANK cHlA YI BRANCH

BANK ADDRESS : 307 CHUG SHAN ROAD , CHiA YI , 'I`IWAN.

R.o.c. b »
. BENEFICIARY t CHAO WEI PLASTlC M.ACH]NERY CO., LTD
ACCOUNT NO. : SUi»¢zU-UUO']SS

S`WIFT 4 _ : FCBKTWTP 691

AMOUNT z 32837 USD ( Thirty~two thousand eight hundred

and eighty~seven'dol&_ars§ )

REASON . : PLASTIC MACHINERY
;`\) L\/:») §§
4 .. , B RE 3
~ e
New Lme Exchan§
“{;ust€o.S.A.L. _ Y USS;F

Ras Beirut, Oaracas Sireet Up 100m to lamb house Tel: +961 1 744808/809. Fa>_<: +961 1 744810
e~mail: new|ine.exchange@hotmai!.com

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FNK 7782 1200

 

 

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BANK NAME: FIRST COMMERCIAL BANK CH!A 'Y[ BRANCH

BANK ADDRESS: 307 CHUNG SHAN ROAD, CH|A Yi, TA!WAN. R.O.C.
BANK FAX: 886»5~22?1280

S.W.LF.T., NO: FCBIG'WTP 601

ACCOUNT NO: 501-40000788

ACCOUNT NAME: CHAC¥ WE§ P|ASTIC MACH!NERY CO.,`L'§D ~

32,837 $

805 FNK 7782 1201

 

